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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      :
                                              :
                                              :
                       v.                     :   CRIMINAL ACTION NO. 93-127
                                              :
GRADY JACKSON, JR.                            :

                                  MEMORANDUM OPINION

Schmehl, J., JLS                                                             October 25, 2021

       After the Third Circuit permitted Mr. Jackson to file a second habeas corpus petition and

the government responded to his petition, Mr. Jackson requested a stay in this case pending the

disposition of United States v. Smith, 2021 WL 2135947 (3d Cir. May 11, 2021). In the Court’s

November 2019 Order granting the stay, the Court ordered Mr. Jackson to notify the Court when

the stay can be lifted. The Third Circuit decided Smith in May 2021, but the Court did not hear

from Mr. Jackson nor from his Federal Defender counsel. Nevertheless, the Court has reviewed

the filings, the Third Circuit’s decision in Smith, and has determined that the stay should be lifted

and that Mr. Jackson’s habeas petition can be appropriately decided on the merits.

       Mr. Jackson brings two arguments in his habeas petitions. First, that his conviction and

sentence for armed carjacking is invalid because his crime is not a ‘crime of violence’ pursuant

to 18 U.S.C. section 924(c)(3). Second, that he is not a ‘career offender’ because he did not

commit a crime of violence.

       In Smith, the Third Circuit held that “reasonable jurists would not debate the conclusion

that carjacking in violation of 18 U.S.C. § 2119 categorically constitutes a crime of violence

under the elements clause of 18 U.S.C. § 924(c)(3)(A). See United States v. Felder, 993 F.3d 57,

79 (2d Cir. 2021) (collecting cases); cf United States v. Walker, 990 F.3d 316, 325-26 (3d Cir.
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2021); United States v. Johnson, 899 F.3d 191, 203-04 (3d Cir. 2018).” United States v. Smith,

2021 WL 2135947, *1 (3d Cir. May 11, 2021). Clearly, the Third Circuit has spoken directly to

this issue. Accordingly, Mr. Jackson’s petition is denied and dismissed because his underlying

conviction of armed carjacking is a crime of violence, which also makes him a career offender.



                                            BY THE COURT:

                                            /s/ Jeffrey L. Schmehl
                                            JEFFREY L. SCHMEHL, J.
